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                       Joseph Patrick Hannan
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                       138 South Valencia Ave, Unit G
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                       Glendora, CA 91741                                                                      -~ CD'sr~7
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 5                     Email: submarinecap@aol.com

 6     In Pro Per

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 8                                     UNITED STATES DISTRICT COURT

 9                                    CENTRAL DISTRICT OF CALIFORNIA

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11                                                           To be supplied by the Clerk of
12                                               Plaintiff
                                                             The United States District Court
13                               v.
     County of Los Angeles: Los Angeles
14
                                                                               COMPLAINT
15   County Fire Dept; Captain James Barnes
                                                             ~K
16                                          Defendants .            ~M~DM~~L-~nvN
17
        1: Invasion of Privacy: Fourth Amendment Violation by governmental
18
       employee or agent of the government violating an individual's reasonable
19
                                expectation of privacy.
20
        2: "Bivens Action": 42 U.S.C. § 1983 : Section 1983 provides the right to
21
        sue state government employees and others acting "under color of state
22
                             law" for civil rights violations
23
             3: Intentional affliction of emotional distress: 18 U.S. Code § 2340
24

25                                           4: Discrimination.

26                                             5: Negligence.
27
                                 6: Retaliation: 42 U.S. Code § 12203
28




     cv-~ zb ~oGio9~                        PLEADING PAGE FOR A COMPLAINT
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                               Cover Sheet:
                             Contains asfollows:...




                             Pa e: 1: Action

                  Page 2: Juristiction and Venue

                      Pale 3: Cause For Action

      Pale 4: Cause for Complaint: ie: 1 to 6: as follows:
      Page 4: - #1: Invasion of Privacy: Fourth Amendment Violation
     by governmental employee or agent of the government violating
            an individual's reasonable expectation of privacy.

      Pa e 8: - #2: "Bivens Action": 42 U.S.C. § 1983: Section 1983
        provides the right to sue state government employees and
    others acting "under color of state law" for civil rights violations.

    Pa e 16: - #3: Intentional affliction of emotional distress: 18 U.S.
                                Code § 2340

                      Pa e 18: - #4: Discrimination.

                         Pale 19: - #5: Negligence

                         Page 20; - #6: Retaliation

                   Page: 20: - "Time after the incident"

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                              Joseph Patrick Hannan

                                               v

      County of Los Angeles: Los Angeles County Fire Dept;
                       Fire Dept Captain James Barnes.



                                         Action

     The Plaintiff -Joseph Patrick Hannan (Plaintiff) brings this action against
    defendants County of Los Angeles(the "County"),the Los Angeles County
       Fire Dept and with County and The Fire Dept the defendant, Captain
     James Barnes seeking damages to remedy violations of rights under the
     United States Constitution and under "Bivens Action": 42 U.S.C.§ 1983
     Section 1983 and for negligence, discrimination, retaliation, intentional
       infliction of emotional distress :18 U.S. Code § 2340 and invasion of
                         privacy pusuant to California Law.



                              DEMAND FOR JURY TRIAL

                 would like a Jury. I am seeking $180,000 in Damages.

    E nclosed/Attached is the Claim I sent to County in which I explained my Health
    Conditions -Physical and Mental and how it is difficult to manage Mental Health &
    Physical illness combined. All of these were affected. I allso suffer from Arnold Chiari
    Malformation which is another consideration. This incident affected Me both
    Mentaly and Physically. I was'thrown' by it and the affect of it is ongoing. As
    expressed in the Claim sent to County I thought long and hard and arrived at what

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   consider to be all things considered a modest amount that provided for some closure
   and some solution. Frankly I was suprised given the Facts of the situation when it was
   refused:(Pls. see letters from County Councel lawyers.)

                                       Thankyou.




                       .luristiction and Venue



   This Court has juristiction over all causes of action asserted in this
   compliant pusuant to California Constitution Article V1,section 10, and
   California Code of Civil Procedure section 410.10, because no cause of
   action contained herein is given by statute to other trial courts and the
   amount in controversy exceeds $25.000.

   Venue in this Court is proper pusuant to California Code of Civil
   Procedure sections 393, 394,and 395 because Defendants in this action
   are public officers and public agencies situated in Los Angeles County and
   because, on information and belief, all of the acts or omissions
   complained of in this Complaint took place in Los Angeles County.




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    Plaintiff alleges, on personal knowledge as himself and information and
    belief as to others as follows:




                           Cause for Action

    1: Invasion of Privacy: Fourth Amendment Violation by governmental
    employee or agent of the government violating an individual's reasonable
    expectation of privacy.

    2: "Bivens Action": 42 U.S.C.§ 1983: Section 1983 provides the right to
    sue state government employees and others acting "under color of state
    law"for civil rights violations

    3: Intentional affliction of emotional distress: 18 U.S. Code § 2340

    4: Discrimination.

    5: Negligence.

    6: Retaliation: 42 U.S. Code § 12203
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                    Cause for Complaint:


   1: Violation of Fourth Amendment:
   M y fourth amendment rights were VIOLATED . ie/eg: A search under Fourth
   Amendment occurs when a governmental employee or agent of the
   government violates an individual's reasonable expectation of privacy:
   Thus:

   My rights under the Fourth Amendment were violated when Captain
   Barnes as a Captain in the Los Angeles County Fire Dept used his authority
   as represented by badge and uniform to enter my premises unannounced
   and without invitation and invasively search and violate my reasonable
   expectation of privacy and in doing so humiliate and hurt me. He did that
   aggressively with applied and determined intent and used his badge and
   uniform as a means to do so.

   He disregarded and broke through covid barriers and with applied speed
   entered (charged/raced into) my warehouse premise's without notice or
   announcement or permission and when peacefully (asked) confronted over
   what he was doing he aggressively announced without ANY qualification
   that he was conducting a "Full" 'inspection' of "Everything!".

   He planned to do what he liked and what he wanted to do. All 6 feet 7" or
   so of him. A Big Fella on a Mission. I am 66 Years old with some serious
   physical health conditions and some mental health problems including
   Physical (Brain Malformation) Mental Health problem as well as non
   Phyisical Mental health Problems and I am afraid of covid and mad people
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    dressed in uniforms.

      had no choice. He TAKES my choice of Peace and Quite and the serenity of
    it as provided by The Constitution of The United States. He took that from
    me by using brute size and muscle and combining that with Uniform and
    Badge. He then proceeded to DESTROY my peace of mind and sense of
    security and right to privacy provided me and protected by The
    Constitution.

    He was on a preordained mission - A SELF ordained mission with intent
    contained. A destructive one. Authorised by the abusive use of Uniform and
    Badge. Where does that end?

    There was no stopping Him. I could not stop him. The young Fire Fighter
    with him could not stop him. He had Size and Authority and a Captains
    Badge and he used applied aggression. Determined.

    So I let him - as I explained in my Claim (neccessarily)filed to County. I let
    him. No Choice. When confonted with the brute force of it. So...that
    said:....

    He then proceeded to ransack rummage search through Box's and
    Bins...'picking' and examining small individual items out from inside storage
    box's,,,('What is he doing' I thought) ... and then when I went back down to
    him he went to a area I had described to him as "Kinds Private" and
    aggressively rummage searched shelves and box's including a tote that
    contained my personal travel bags containing personal things (eg:
    passport/green Card/personal private items,family pictures and such ,etc).
    He rummaged through lifting up the bays and searching beneath each item
    and under and through till to bottom. This was not a "inspection". This was
    a aggressively invasive Search. He continued with this search and would
    have done more but on seeing him go into the Tote and rummage though
    my Private Bags etc I said: "Enough -Get Out!~~. See the notes please as well
    as notes on the Claim I filed with County as per required procedure:

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   Thankyou.

   Captain Barnes invaded my privacy by entering the way he did in the
   manner he did and by aggressively invading and searching with no regard to
   privacy or the hurt and pain and suffering he was causing..

   When I pointed out that a area was "kinds private" he went directly
  (immediately)to and.. into that area and searched through my private
   belongings and invaded my privacy. I looked at this and tried to remain
  calm. All I did was turn the light off above the'bed'. He turned to Me and
   aggressively said: "Why'd ya turn the light off.►" .This was delivered more
   as a snarling challenging exclamation than reasonable or civil question.
   None the less I answered and said: "Your Humiliating Me."

   Note: Please see details attached provided of complaint sent to County.

   As He continued to rifle through my life I laved on the bed and undid my
   belt...and referenced what he said about "Everything".

   So I undid my belt and said: (I was now an~ry at having to watch him
   feverishly tear through my privacy) - I was angry and for the moment not
   afraid: So I laved on ~m r'Bed', undid ~ belt and I said: " oK..You wanna
   inspect EVERYTHING -inspect this!~~...My object was to demonstratively show
   him my protruding hernia's. I stopped before revealing anything. As
   looked at him feverishly rummaging through My Life - I said: ~~Enough -Get
   out!". Fairly assertively. He is a 6.ft 7" tall Mad Man Fighter and I am a frail
   and frightened 66 year old with some serious health problems. But there is
   a point. You know -when one has to draw the line and say -Enough.

   He could have reasonably asked why I thought that area "kinds private" and
   would have told him. But no...He was on a determined mission of his own
   and had no other concern - not as a Person - Not as a Fire Dept Captain -
   not as aHuman Being. Not as a person wearing a Uniform. There was
   nothing that he was doing or saying that was representative of the Values


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     of the Uniform and what it represented. He was 'out of control'.

    Captain Barnes response to my saying its a "Kinds Private area" was not to
    inquire why or ask reasonably for a reasonable response. If he had I would
    have explained. But instead he took my (defensively demure )"kinds private"
    and out of concern 'meakness'faced with his in my face brute aggression
    as reason and purpose for him to go immediately and straight to that area
    and a~~ressively invade, search, violate and rummage.

    When I finaly asked him to stop He made a nasty sneer of a remark about
    what He called "These People". When He said that as he left the area I (did)
    reference Medical Condition and need to lie down but that again (the first
    of two time's) he was directly made aware of illness did not stop his abuse
    and he continued to abuse before I said: "~ don't feel Good. I need to sit down".
    Lieing down no longer being a option.

    He then launched a since all else had failed floundering but determined and
    meant to intimidate nonsensical attack over City Licence's which have
    nothing to do with a "Fire Inspection". Especially not a Community Service
    Friendly natured one of this type and kind. And in fact detract's from the
    point of one.

    Maybe he better go -but no -and sure as heck not before'firing off'. Oh
    No. He was fired UP and he was gonna fire OFF - by hook or by crook.

   'Business Licences. Lets get im on that. Lets gang up here -1feel a bit
   isolated -Call the City! -1'lljust step back here a bit..lose my self in a misty
   crowd ofSelf Rightousness -1 don't like the light!.. its transparent!- Oh no -
   Looks like ...Accountability !!!...Get me out of here, Fast!~!...Run!...Look
   out!-Look out!!... 1 need to escape!lack Lightning? What do 1 do!?'...lack
   Lightning?'

    He is now Desperately Floundering and Flailing..cornered.. so he offers
    "Gift" followed by more desperate threat and retaliation and speeds off


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   quick as his legs can carry him.




   2:"Bivens Action": 42 U.S.C. § 1983:Section 1983 provides an
   individual the right to sue state government employees and
   others acting "under color of state law" for civil rights violations:

   My rights under the Fourth Amendment were violated when Captain
   Barnes as a Captain in the Los Angeles County Fire Dept used His authority
   as represented by badge and uniform to enter my premises without
   invitation and against my wishes and with use of intimidation and through
   abuse of uniform invasively search and agressively violate my reasonable
   expectation of privacy.

   He displayed no regard for social distancing or covid barriers after entering
   un invited and un announced. No respect for Me as a Citizen and no respect
   for My rights. Dis Respect for Me as a Person and Dis Respect and no
   regard for My Rights as a Citizen or person. To him Iwas/am'dirt'. He
   displayed dis Respect for The United States Constitution and what that
   contains. And he did that whilst wearing the Uniform of a Captain in the Los
   Angeles County Fire Dept. He exploited the power of that uniform for his
   own purpose and in doing so abused that uniform and badge. He used
   (abused)that uniform under the pretext of a "inspection" to violate my civil
    rights. Specifically but not limited to my rights under the fourth
   a mendment.

    Captain Barnes did not provide ID when asked saying he did not have to or
    need to cos he had "This!". ie: "I Have this!"..as he assertively tugged
    forward and pulled on his uniform badge his eyes glaring mad.. His manner
    was negligently abusive and aggressive and final. He did not conduct
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     "fire inspection" untill I asked him to in a attempt to stop his personal
     attack on me and steer him away from abusive behaviour and aggressive
     attack. "Why don't you do a Fire inspection?" I said.."Look - I have new
     extinguishers"..gesturing to the new extinguishers on the wall. I was made
     sick at that point. When he did eventually start to'conduct' a so called "fire
     inspection" he abused even that simple process.

      have 30 Years or so of Experience of "Fire Inspections" in Warehouse and
     Factory as I have run Business in Los Angeles.. and many (decades) Years of
     "Fire inspection" experience in the one we are now talking about. I allso
     know a bit about uniforms.

     Its a straightforward service "inspection" provided by the Fire Dept.
     usually accompanied with smiles and pats on the back appreciation etc.

     A community service provided by the Fire Dept meant to help and
     intended to help the community stay safe. Not a 007'licence' to attack,
     rummage and damage and insert fear of uniform into the community. Its
     supposed to be a community based service type of'inspection' with
     corrective advise as needed and not one to be scared or fearful) of...or...the
     whole point is defeated.

     These'inspections' are not meant to scare or frighten. They are meant to
    'help'. This was abuse of uniform and abuse of Citizen. A abuse of power
     a nd position. There was no community service involved in this and all it
     served to do was create'fear of uniform' and divide the Community. As
     when People see a uniform and run or lock their Doors. Or Worst. Its a bad
    thing and can create even bigger problems. Serious Problems. For
    everyone. Fire Fighters included as well as the Community. Its a insult to
    anyone who wears or has worn a Uniform in Service to The People as in
    "The People" as referenced in The United states Constitution. Its a Shame.
    Who bares the Shame? The People and the Good officers who wear
     Uniforms. This is insult to all. And Negative to all in The Community. It


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   breaks and divides and endangers.

   Note: I have NEVER been subject in ALL of those 30 years to a "Second
   Check". Never mind Three. Huh. This is my first in more than thirty years!.
   Or first and only ever.

   So it is odd and un usual. Very. Strikingly so. And then with that along
   comes Captain Barnes.."Are You Joe Hannan?" - & "Just the Guy 1 am
   looking for!"...."These People"... "These things"... So in his own words -
   He came looking for Me. He was on a pre meditated mission. No question.
   And - less I forget -there were THREE inspections..not TW0...3!..Can
   someone please explain that. Whats that I hear? The sound of Crickets.

   Pls note: I have never met Captain Barnes over those thirty years. He said
    he had been with the Dept for 30 years. I first rented the warehouse he
   'visited' around thirty years ago, I am 66 and not naively innocent. Old age
    is the price: I'd rather be innocent. BUT - I have experience of things: It is
    unusual for a Fire Captain to do these community friendly(When we have
    nothing more important to do)"inspections" :His "leadership" is needed
    more importantly elsewhere or at the Fire Station..where he runs the show.
    Leads it. It is even more UN usual for a Fire Captain to do this and bring
    with him the EXTRA LONG LADDER Engine.

   To avoid mis -understanding -Not the usual Long Ladder engine one see's
   out and about. THE Long Ladder engine needed for Sky Scrapers or TALL
   stuff etc. The one that you can barely turn a corner in. THAT one. I think
   Glendora has one of these? Two? There it is..sitting there.. in the middle of
   a Friday busy Business Car park..blocked in with no speedy way out..There
   it is..this massive asset..pride of the fleet. And with it: The Captain. All of
   this resource for ME. And he brings along wih him on this Joy Ride a Young
   Fire Fighter - presumably to show him how he gets things done or how
   tough he is. That's a real shame. To set that kind of example. The Young
   Fire Fighter seemed like a Good Person and for the most part 'stood back'
   d uring all of this. At this point of my understanding: I have no complaint
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     about him and felt sorry for him -that he had been brought into this
     situation by his Captain.. apparently.. early in his career. I wish him the best
     and a successful) career in the Fire dept. and I ask the Fire Dept to treat him
     well. Please.

     All of this for...what? All of this energy and equipment.

     For the second part of a community service "Fire Inspection"?. Really?.
     H mm. What happens if the fire bell rings? No Crew Captain - No extra long
     ladder engine. Where is that resource? Its stuck over here 'a
                                                                l mmed
     between cars on a busy end of week friday. Stuck in the middle of a car
     park intersection with noway out. Where's the Captain? He's rummaging
     through my life and attacking me in the back of my warehouse making
     crappy remark about "These People". Service? Huh.

     Anyway - no matter how you look at it - Thats a dangerous and abusive mis
     use of resource and County Fire Dept asset. Negligence. Thats not service to
     community. Thats Dis service and abuse of community and flagrant mis use
     of County equipment and asset. That engine is not meant for "Joy Rides".
     ie: The "Joy" Captain Barnes took from this.

    The Fireman who came previously came in a Car. Sensibly used for this kind
    of community service inspection - He came back - after!! -the captain - in
    same small white car to complete the second part of the (his)'inspection' -
    ie: The'second' part -which he did. He was unaware of the Captains'visit'.
    The Captain came in between that. Apparently of his own volition and
    reason and for his OWN "joy ride' satisfaction and purpose.

     Can some one please explain that? Whats that? The sound of Crickets.

    That makes no sense within the context of legitimate 'inspection' process.
    There were three inspections.(?!)THREE! That in and of itself requires
    transparent explanation and a review of the reports/paperwork etc. And
    perhaps even -Accountability. I discussed this aspect with County but they
    have yet to'get back to me'. County has not'kept me up to date' as they
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   assured me they would and has provided no information on the internal
   investigation after Supervisor Kathryn Barger picking things up from a
   broken and frankly pathetic County F.D. process "System". Not even that it
   completed. They just left it and me and winded down the clock till I only
   had 1/3 days left to file a claim or be left stranded on a island with no
   recourse. And No Accountability brought. Fortunately I was able to file on
   time. Just or barely on final day - No thanks to Count on that. They
   (Kathryn Bargers Office) knew that clock was winding down and were
   aware of what they were doing and said nothin .Deliberately and with
    meaningful) intent carrying impact and consequence. Hmm.Thanks County.
   Thats a bit like as we used to call it back home - "putting the boot in". ie:
    Kicking some one when they are down and defenseless. Not a Good thing.
   Bad.

   Pls. keep in mind I have no experience of this type of thing. I am Not a
   Lawyer. Huh. I have Never sued or been sued. I have (had) no knowledge of
   County "procedure". When I entered into 'discussion' with L.A. County FD
   and Supervisor Kathryn Barger I did so with innocent and extended Good
   Faith and Citizen Trust in honest and transparent leadership and Garin
   authority. My experience has left that trust and faith eroded and I feel
   was abused and manipulated by process. So...Goodbye innocence. Hello
    Accountability.

      had noticed this massive extreme long engine smack bang in the
    intersection in the middle of the Business Car Park (On a busy business day
    Friday)..sittin there in the intersection of the park parked like a funfare
    spectacle ..boxed in by Cars and other. Surrounded. Huh.

     looked at that and thought:"Not a Good idea". Anyway - THATS not for
    Me I thought and went into my warehouse. Then a while later -curious -
    overspectacle - I went outside and peered in the direction of the engine.
    Then about 4/5 warehouse's along I saw two Firemen briskly striding
    toward -the taller one had a clip board and he waved it in the air and

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     shouted: "Are You Joe Hannan!?"

     'Hmm' I thought:"Yes. I am".

     And then I went back into my warehouse through the larger W.H. door to
     get my masks and put them on. Thinking I would meet them (reasonable
     expectation) at the outside Office Door which was open and they would
     have to pass. I entered the Office though the inside warehouse to office
     door - I wore at that time Two masks due to fear of covid and pre existing
     conditions and my age. I took and take and abide by Los Angeles County
     and Los Angeles County Health Department social distancing and covid
     rules very seriously!.

       had no time to even put one mask on before I saw through the interior
     office door the Captain flash past in a blur of blue. Huh?!...: To my
     unexpected shock He had rushed ast the outside Office Door. Around the
    Truck I had parked. THEN -confronted with Tables I had positioned as covid
     block and social distance positioned for tradesmen delivery etc he side way
     passed around them and disregarding obvious barriers sped through and
     literally raced to the back of the warehouse. He had to do this to enter and
    get it in. I suppose its not "breaking and entering" but he "broke through"
    anyway and entered whilst I was in the office preparing to meet him at
    Office Door which by the bye allso had some social distancing applied by
    the way of a small table cart at the entrance that provided about three feet
    of social distancing: ie: Each person stands on each side and then one gets
    about 6 ft. note: I had this social distance arrangment set up all through
    Covid and it worked well. EVERYONE understood it on sight - ie: numerous
    tradesmen, delivery men, neighbours, sales solicitors, children (neighbours
    kids) etc..EVERYONE all through that extended time and especially THAT
    time NEVER did what Captain Barne's did or even anythng like it. Only
    Captain Barnes. As I can recall the younger Fireman with him had stopped
    near the door correctly. My attention was focused on the Captain who by
    now had arrived way deep at the back of the warehouse. So I walked down

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   toward him after hurridly putting on just one mask (no time for more).

   When I got to him ..I asked him to please come to the front and I turned
   and walked back to the front expecting him to be behind me. But when
   turned to look he was still at the back at the Warehouse and now picking
   items out of Box's..and looking at them..) thought..'what the..' and went
   back down to him. I asked.."What kind of inspection is this?"..He leaned down
   and leared.."A FULL inspection!"......hearing this I asked.."What are You
   inspecting?",,,He leaned down again and with don't mess with me menace

   said: "Everythin_q!!".

                                       so ...

   When He did 'conduct' a "inspection": it was after He had entered and
   searched as described and after I had 'guided' him BACK to front of
   warehouse having been forced to tell him to "get out" of the
   stockroom/rest area at the back. He conducted the so called "inspection"
   after that and he did it begrudgingly and negligently and it was full of
   personal resentment and singled out discrimination :....ie:

    He first told Me the Extinquishers new (2) I purchased (according to FD
   guidance) were "no good" and demanded I buy a bigger more expensive
    one and he wrote the number of it down. The only object of this was to
   'stick it to me'. I responded by explaining I thought the extinquishers were
    OK/Good and that I had purchased them new according to Fire Dept
    guidance instruction. ie: rather than re tagging the older ones. ie: As the
    cost was close to same I purchased new and I purchased more than
    required: ie 2: I allso purchased new smoke detectors and signs which were
    not asked for. ie: I had done more than asked for and done it well....so...

    THEN he backtracked and said He would "give" me what he called a "pass"
    on the extinquisher and that I would have "no inspection next year".

    Excuse me? The extinquishers are either food or no good. Simple. And the

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     frequency of any so called "inspection" is not down to what Captain Barnes
     wants to 'give' or not give' depending on how He feels or how much he
     dislikes a Citizen and feels or does'nt feel like a Joy ride in the big red
     engine he use's as a Toy to take on Joy rides.... Neither is it or should it be
     used as leverage means to 'get out of a situation that looks like it may lead
     to Accountability.

      think he did that cos he realised he had gone too far with the wrong
     person and was looking for a way out. In terms of fire inspection efficiacy
     and object he was abusively negligent. The "Fire inspection" was a pretext
     for a selectively discriminating attack War on me. Guided by another
     hand?, I don't think so. Pre Meditated -Yes. Bigotry? -Definitely. He
     announced it..."These People - living in these things"

     The misuse of power and authority 'gift' he 'gave' me - ie: "1 am gonna ive
     you a pass" and "no inspection next year" was 'gave' to Me cos he sensed
     he had gone too far with the wrong person (The serious question raised
     here is what does he do or what would and what may he do with a person
     less able to defend..eg: A less able to defend and more sick and helpless
     h omeless person suffering from Mental illness?)..So - He sensed he had
    gone too far and he feared possible repercussion - (Accountability) so..he
    offered a "Gift" that he "gave" as he said as in "1 am gonna give You". THEN
     he reinforced His self protection by retaliating with Threat as he stormed
    off(strode fast away) by turning and saying in threatening tone and
    manner: "I can red tag Your Doors". On him saying that I fearfully inquired
    if he was "coming back" and he spun around and in assertive finality said :"
      don't have to -1 can just pickup the phone and call The City"...and sped
    off like Jack Lightning...

    This is a analogical 'slick and shady' Dickensian Scoundrel kind of Character
    who uses 'trick's' ....eg/ie: advise's 'Jack' - 'if you want to dominate some
    one You beat them and then You forgive'them and give them a sweet.
    Then as You leave You look them in the eye and You give them a hard slap

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  to make the point as to who is in charge or who is boss of things. This
  'method'is all the more 'affective'if you wear a uniform. Even better if you
   wear a mask and are 6foot 7" tall.'..says Jack as he leans back and puffs
   his cigar.



   3:Intentional affliction of emotional distress: 18 U.S. Code §
   2340:
   This was a intentional invasive ,aggressive and disturbing attack search by
   Captain Barnes - a 'search to find and destroy' attack that was intentional
   and intentionaly afflicted emotional and physical distress. Demonstrated
   by his words -actions and manner and the affect of it all on Me. When
   asked him what kind of inspection he was doing he leaned down into my
   face and venomously delivered "A FULL inspection!" ie: "Full"...said with
   emphatic and menacing emphasis and then when I asked what he was
   inspecting he leaned down ominously and directly into my face and
   venomously and conclusively asserted "Everything!".

   As I explained in the complaint sent to County He was affectively
   saying..communicatin~...'Look at Me - I am BIG and I am in Uniform and
   will do what I like how I like' and he used his Size (6.7) and venomous
   manner to lean down and aggressively assert this directly into my face (ie:
   about 2ft away from My nose): ie: I would have felt his breath and spit
   except He had a mask on which added to the ominous threat of what he
   'presented'. I still felt the'heat' of it. I still felt the'impact' of it. Physical and
    Emotional Distress. Delivered to me. Afflicted on me. I suffered the pain
   and illness that came out of that affliction. And I suffer it now and allways
    will.

    This was Menacing and was intended to be Menacing and the affect was as
    intended: To menacingly and aggressively intimidate attack and impose on
    and deliver and afflict what He came to deliver: Emotional and Physical
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     Distress.

      Note too please: When I asked the Captain to "yet out!: after He went into
     my "kinds private" area and rummage searched through very private
     belongings in tote He said: "These People living in these things" -
     responded by saying "I need that Bed for Medical reasons" and I referenced
     Doctor..So at that point Captain Barnes was made aware I had Medical
     problems as declared. I allso said "~ don't feel good and need to sit down"
     shortly after...But even then and after He recieved that
     information/communication He continued to attack and aflict -Emotional
     and Physical distress - directly aflicted or causing Me to be emotionaly and
     physically sick. Despite being made aware of illness and need...twice...

     He continued to abuse and afflict and then finished with applied threat over
     business licence (As he could not'find' anything else by searching) and he
     delivered afflicting threat to red tag/lock and close (Destroy) My Business
     and so on. Of course that will afflict emotional and physical distress. Its a
     threat to Me and My Business. My Life.

     This clearly contains intended and deliberate infliction of Physical and
     Emotional distress.

     Delivered with the intent to intimidate bolstered by his abuse of the
     authority of his uniform and badge which He abused and exploited with
     i ntent to intimidate, discriminate against and directly afflict and inflict hurt
     and emotional and physical damage.

     He was clearly'out to get Me'and used everything He had at his disposal
     including authority of uniform and position as well as physical size and
     aggression and threat and "gift" and intimidation to achieve that end.
     Anything he could put his hands on he grabbed and used.




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   4: Discrimination:

   When I told Him to "yet out" and as he left the area searched...Captain
   Barnes said,,, or'snarled'.."These People living in these things". That was
   delivered with snearful distain, contempt and venom. He demonstrated
   extreme discriminating and prejudicial personal dislike and contempt for
   what He disciminatingly called and himself defined as "These People". His
   words whilst wearing Uniform and Badge.

   His actions were discriminating in so much as He chose Me and targeted me
   (Before He came here) and singled Me out to discriminate against as
   was/am in his mind and through his eyes very representive of "These
   People.."....hmm..and maybe he's right.....

   Maybe I am representative of "These people".."THE People". ie:'Part' of
   "The People" are.. "These People" he referenced the way he did.

   The People as represented as "The People" in The United States
   Constitution. If I am representative of those People..."These People"..part
   of "The People"...then so be it. The flag of The United States Constitution
   is a flag I can wave. And the badge of "The People" is a badge I can wear.

    Even for "These People" -The Homeless -Those struggling with Mental
    Health Difficulty -The Poor -The Unfortunate -The Old -The Weak -Those
    a mongst Us who suffer and struggle -often through no fault of theirs. The
    list is long and sad. And too often Tragic. These People...

    These People are part of The People. And perhaps the part that the
    founders had most in mind when They wrote: The United States
    Constitution.

     have through experience and character a particular empathy for those
    a mongst Us - We The People who suffer mental illness and homelessness in
    combination. These people. As the Captain spat:"These People"...or
    fully...as he contemptuously sneered..."These People..living in these

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     things".

     If I can help in particular "These People" then I will. If I can represent
     "These People" in a GOOD way and some how HELP them - I will. So -Yeah
     - I am 'representative' of "These People" and I will defend Them against
     Attack by "people" like Captain Barnes. Especially uniformed attack from
     those who are paid to protect and pledge to serve the very People they
     attack.

     His 'dislike' of "These People" as characterised and demonstrated by him is
     what drove Him to attack me. That and the pride and satisfaction he took
     from it. This was a 'joy ride' for him so he took along his biggest toy. For
     Him -doing this was like a 'badge of honor' he could display and show off to
     like minded others and hey - If he actually did find anything during this he
     can show/display that off as well and be applauded and rewarded. - He
     seems torn. He does not seem to understand or appreciate his vocation.

     He did this whilst using and abusing the authority of the Uniform and rank
     he wore. This Discrimination clearly manifested itself in action and words
     ..eg: when he leaned down from 6.7 ft and glared menacingly in My face.
     His eyes full of it and dripping from his mouth and words. eg:"A FULL
     inspection" and "Everything!!" and "These People living in these things".



    5: Negligence:

     Captain Barnes disregarded the Covid Barriers set up for Social Distancing
     a nd went purposely around them and by them and sped to the back of the
     Warehouse before I even had opportunity to put Mask on (Note: I am 66
    Years old and suffer multiple pre existing conditions and wear or wore Two
    Masks and had covid barriers in place). He did not observe or attempt to
     practice social distancing rules. He was dangerously Negligent over Covid
     Rules. He was allso Negligent in His duty as a Fire Captain. And Negligent


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   in His Duty as a Fireman wearing The County Fire Dept Uniform and the
   badge of a Captain. So -Multiple Negligence splattered everywhere and in
   different forms manifested. Very Careless. Blankedly dismissive of Care.
   Negligent. And Arrogant about it.



   6: Retaliation: 42 U.S. Code § 12203:

   When confronted Captain Barnes retaliated with threat. The object being
   intimidation. To avoid Accountability. Because I confronted him he
   perceived possible problem so He determined to'protect himself' by use of
   intimidation through retaliatory threat. He threatened me over "business
   licence" repeatedly demanding that I put it .."on the Wall!". That was
   retaliation. I explained my position on that and He responded with
   aggressive threat about calling "The City" with intent to intimidate as
   detailed": that was retaliation and ie: "1 can red tag your doors". That was
   Retaliation out of fear of accountability. ie: I just have to pick up the Phone
   to hurt You. Thats use of Authority retaliation to intimidate to avoid
    Accountability.




                         Time after the incident.


    On the Monday following the incident I tried to reach out to The Fire Dept.
       When asked Captain Barnes had provided a phone number but when
    called it I got what seemed to be a private message machine asking that the
    caller leave a message. Seemed like a number used to "soak up things" and
    avoid Accountability. If it looks like a 'problem' over Accountability give em
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        that number...soak it up..give em a brick wall. This seemed very odd and
         confused me. I dialed it again thinking I may have mis dialed. Nope. No
          mention of Fire Dept. When I spoke to the Glendora Fire dept on the
           official number I was told that the number I was given was "another
           number" for the dept. I had difficulty getting through to anyone in
        Authority. I could not reach Senior Chief or Commanding Officer of the
      Glendora Fire Dept - I could not even find away to'identify' -nowhere to
       be found -and since this was about a Captain I was reluctant to speak to a
       Captain. But apparently the Glendora Fire Dept is 'run" by the Captain on
     d uty at any given time. So eventually I spoke to the Senior Officer available
       at Glendora who was a Captain: A Captain Max Diamond. (Note: When
        spoke with F.D. later they were not able to confirm a Captain Diamond
        being on duty but said that they would be able to (at My suggestion) do
      that by looking at the roster. I have not heard more on that as of yet. The
            sound of Crickets. Anyway I did have meaningful) and significant
     conversation with Captain Diamond and explained what had happened and
         that I would be speaking with Chief Osby(My Plan at the time). In my
     innocence I saught to contain and protect. So much for that. So I explained
       Chief Osby would no doubt be in touch. Thats reflective of the Faith and
          Trust I had. Since eroded. This did not happen. I was prevented from
     speaking to Chief Osby by a inwardly concerned and failed Fire Dept System
      (see lengthy email evidence)that deliberately obstructed that attempt.
        spent Weeks attempting to speak to Chief Osby with Good reason and
               purpose in mind as object. The System failed. Deliberately.

     At that point Supervisor Kathryn Bargers Office took the situation over. FD
        had told Me the Situation was moved up for the attention of senior FD
         officers and that a internal investigation had been started. Kathryn
      Bargers office confirmed that and said they would keep Me posted etc but
       that these internal investigations were private and took a long time. So
       waited. Nothing was forthcoming after that. Some email was exchanged
     between but mostly one worded and very little. The bulk was systematically

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    and obstructively ignored and communication was poor so nothing came
            from that(which was the object) and time was wasted.

   As time was wasted and went by I was left with no time to use or spare or
      would be left 'stranded on a island' with no recourse. So at that point
   raced to file the (until) then un known)limited by time necessary Claim with
      LA County -with only a Day or 2 left. I had waited that long in Faith and
     Trust for some kind of response. I was led to wait that long. I was never
        advised/told of the need to file with County. I was told the Fire Dept
   "internal investigation" was private and given no details other than I would
      be kept updated. Each time I asked Kathryn Bargers Office the response
      when one was given was short and one worded..:"Recieved"..."Nothing
      yet".."Confirmed"... etc. ie: Sit and waste valuable time. Wind down the
    Clock. As of today I have no information provided Me as to the content or
     outcome or even the purpose of the "internal investigation". Nothing. In
       reality: It was as if They told me 'Ok - We'll do a internal investigation.
    Seeya' and then put down the phone and then never communicated again.
         U ntil) I got the golden letter from Supervisor Kathryn Barger later.

        When I recieved a Letter from Kathryn Barger She said Her staff had
     "personally walked over"the claim so "based on that" I should address
      "all concerns"to County Councel Lawyers. Note: I later asked Kathryn
      Barger if She had explained to "County Councel" that She and her Office
    had sat on My "Concerns" for six months and done nothing with them after
     taking "My Concerns" from The F.D. department after its System Failed?
      After I reached out in Good Faith to Chief Osby in a effort to protect and
       contain over the attack in Glendora. I asked Kathryn Barger if She had
       related that to County Council when My claim was "personally walked
                                        over"




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RO[)RIGO A. CASTRO-SILVA
                                                                                                   1213)687-88~~
     County Counsel                                 December 13, 2021
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                                                                                                   ('_ 131 633-090 1




              Joseph P. Hannan
              P.O. Box 632
              San Dimas, California 91773


                             Re:     Claim Presented:                            October 1, 2021
                                     File Number:                                XX-XXXXXXX*001

              Dear Claimant:

                      Notice is hereby given that the claim that you presented to the
              County of Los Angeles, Board of Supervisors nn October 1, 2021, was rejected
              by operation of law on November 15, 2021. No further action will be taken on
              this matter.

                                                         WARNING

                      Subject to certain exceptions, you have only six (6) months from the date
              this notice was personally delivered oc deposited in the mail to file a court action
              on this claim. See Government Code Section 945.6.

                     This time limitation applies only to ca~~ses of action for which
              Government Code Sections 900 - 915.4 require you to present a claim. Other
              causes of action, incl~idina those arising under federal law, may have different
              time limitations.




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       December 13, 2021
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               You may seek the advice of an attorney of your choice in connection with
       this matter. If you desire to consult an attorney, you should do so immediately.

                                                Very truly yours,

                                               RODRIGO A. CASTRO-S[LVA
                                               County Counsel


                                               By
                                                    JO        A. LANGTON
                                                    Principal Deputy County Counsel
                                                    Litigation Monitoring Team

       JAL:nt




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   1                                             PROOF OF SERVICE
   2                                            File No. XX-XXXXXXX*001

   3 ~ ~ STATE OF CALIFORNIA, County of Los Angeles:

   4        I am employed in the County of Los Angeles, State of California, over the age of eighteen
     years and not a party to the within action. My business address is 648 Kenneth Hahn Hall of
   5 Administration, 500 West Temple Street, Los Angeles, California 90012-2713.

   6             That on December ~ IC ,2021, I served the attached

   7                                       NOTICE OF DENIAL LETTER

   8            upon Interested Party(ies) by placing ❑D the original ❑ a true copy thereof enclosed in a
        sealed envelope addressed ❑D as follows ❑ as stated on the attached service list:
   g
                          Joseph P. Hannan
  10                      P.O. Box 632
                          San Dimas, California 91773
  11
                 8        By United States mail. I enclosed the documents in a sealed envelope or package
  12                      addressed to the persons at the addresses on the attached service list (specify one):

  13'           (1) ❑deposited the sealed envelope with the United States Postal Service, with the
                       postage fully prepaid.
  14
                (2) ❑D placed the envelope for collection and mailing, following ordinary business
  15                ` practices. I am readily familiar with this business's practice for collecting and
                       processing correspondence for mailing. On the same day that correspondence is
  16                   placed for collection and mailing, it is deposited in the ordinary course of business
                       with the United States Postal Service, in a sealed envelope with postage fully
  17                   prepaid.

 18                       I am a resident or employed in the county where the mailing occurred. The
                          envelope or package was placed in the mail at Los Angeles, California:
 19
           I declare under penalty of perjury under the laws ofthe State of California that the
 20 foregoing is true and correct.

 21              Executed on December ~,2021, at Los Angeles, C. ifornia.

 22
                   ,~ -                                                   ~         ,~       ~
 23                          / ~
                (NAME OF DECLARANT)                                 SI     ATURE O~'DE
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                                                   CLAIM.



     Broad and Serious Civil Rights Violation's including Violation of Constitutional Rights: Not
     Limited to but Specfic Relevant : eg: Fourth Amendment.

     Deliberate and with intent Serious Physical and Mental Attack and Aggressive Attack/Assault
     and Rule &Rights Breaking Entry without any Permission or any Announcement followed By a
     Forceful) and meant to intimidate and Fiercely Aggressive Search and Destroy Invasion on Me
     a nd in My Propery through Deliberately applied with intent to Hurt and Damage and intimidate
     a nd Control through Force of and Mis Use/Abuse of Fire Dept Authority and use of Physical and
     Mental Harassment and Discrimination to Intimidate..Damage snd Destroy.




     Deliberate and with intent Aggressive Attack on Me and Deliberate and with intent Serious
     Infliction of Serious Emotional Distress and Deliberate and Aggressive Neglegence when
     entering Property and in Duty and Responsibility and Mis use abuse of Badge and Uniform
     Directly resulting in Seriously Affecting Humiliation, Seriously Affecting Emotional Distress and
     Seriously Affecting Mental Pain and Anguish and Physical and Mental Pain and Suffering.




                       How Damage & Inlury Ocurred &Damage : Re:#8 on Form.




                                            On Fridav: April 2nd

       A Fireman came to My Warehouse about 2 Weeks previous to the 2nd April event He was
                gonna return as per procedure for a second inspection as per procedure.

        Note: I have had this unit a long time having first leased it 30 years ago about. So: I have
      experience over 30 Years. Not just this unit but others in LA. In all my years I have never had a
      second check Fire inspection. I allso like to dot my I's -and am pretty meticulous about these
                                                   things.

     So: I was closed so would have to come in especially for the return check. So I got two new Fire
        Extinguishers(More than required) as well as not required smoke detectors and signs and
           Young Friends helped Me move weight around as I can not lift so as to get all ready.

      So I know form 30 Years experience of these inspections that its usual for them to come mid


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      dayish so I had been coming in -especially -late mornings till about 3.00 every day as no
    a ppointment is provided. So: I was watching out for the expected second Visit. I expected a
                                      Fire Dept Car as with first.

                        On 2nd April - a Week+ or so after the first inspection.

    was outside My Warehouse and I saw a Very Large ..THE Longest -Fire Engine parked in middle
          of Car Park. I Looked at it and thought ..can't be for Me ..They would not bring that.
     U nderstand there are different size engines. This is not the Big Fire Engine u normally see. Its
    the Massive/Extreme long one. I (think) there is just one (?) of these extended Ladder trucks in
                                          the Glendora Fleet?

     And there it is: Sititng Larger than life in the middle of a crowded car park on a Friday. Not a
      Good idea I thought. Its boxed in with no certain or direct way out. What if thats needed?
     Later considered. But AT the time I just thought: Well - THATS not for Me. Wonder what they
                                                   are doing?



   So I stared at it parked in centre of Car Park here and thought/concluded :"Well - THATS not for
     Me! -They would not bring that." I allso thought:"Thats not a Good idea -parking it there".

                  Anyway - No -Not for Me I thought and went back in to Warehouse.



    Then 10 minutes or so later..curious - I went back outside and looked in direction of the LONG
                                                Truck.

    About 80 feet in distance or about 4 Warehouse frontages distant I saw Two Fire Men striding
     determined &very brisk toward Me. The Taller one had a raised Clip Board in His Hand and
                                  shouted...."Are You Joe Hannan?".

                                         "Yes 1 am" I... replied.

                      "Just the Guy I'm looking for!!"..He shouted Triumphantly.

                                          Hmm..l thought and...

     turned and went back into My Warehouse and into My Office so I could get my Mask. Due to
     My age and Health I wear Two for Maximum protection. The Surgical Medical Blue Type and a
                              Cotton Mask over it for added protection.

      expected to put My Mask's on and meet Them at The Door..but before I could even get My
      Mask on He (Captain Barnes) had entered through the Larger Door and went straight in very

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      Fast and went straight past the Office Door -around My Truck and went AROUND the Covid
           Barrier Tables and had went Very FAST straight to the back end of the Warehouse.




       Without stopping at Door: Without Permission. Without Announcement: He went past and
                         around Covid Barrrier's and Charged in. On a Mission.

                             During Me putting My Masks on in My Office.

      He went PAST the (Correct to stop) outside Office Door ..AROUND My Truck (Covid Barrier
      positioned) where He would have been confronted with a Covid Barrier Table...so..He went
     straight AROUND the Table and STRAIGHT into The Warehouse and Fast Walk/Ran to the back
                    end of The Warehouse. He was "On a Mission"..Pre Meditiated.

    FAST. The Warehouse is 50 Ft Long and He was approx 35/40 Feet into The Warehouse before
     came out of The Office though the Warehouse Office Door having seen Him rush past. I hurry
                fixed one mask on (No time for two) and went down there toward Him.

                          "Can You please come up to the Front...." I asked.

     And He was now near the Very Back &peering there so/and I said..."And thats a kinds Private
                                                area"...



    So then I turned and walked back to Front expecting Him to be behind Me but when I turned He
       was still down there and taking some things out of Box's and looking at them...examining.




                               looked at that and thought .."What The..."

          And went back down toward Him again: I asked::"What Kind ofInspection is this?"

     He replied:"A FULL inspection!".     He stated emphatically -tearing down at Me from 6.5 Tall
                                    menacingly. He meant business.

                                   asked:"What are You inspecting?"

           He looked down at Me and replied: "Everything!". He declared conclusively,
                                            threateningly.

     Hmm..l thought. OK...So this Big 6 foot five Guy is out of control and this Guy's gonna do what
     He wants/likes and is obviously out to "Get Me". He is on a Mission. A Cooked up one. This is


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                                 Pre Meditated. He came in with Agenda.



                So He is Big and Menacing and has agenda. So I better let him. I thought.

    So I went around and past Him into the Private area and turned off the light above the Bed that
                                                   is there.

                     "Why'd You turn the light off?" He said or demanded to know.

                                      "Your embarassing Me" I said.

     He then aggressively resumed His Search and widened the scope to everywhere/everything as
                                       He had said : ie: "Everything".

       He was on a Pre Meditated Find and Destroy or find to destroy Mission and began to rifle
      through with sharp focus Search Lights etc and into corners etc and and then into Box's and
       even a Private Tote Box that contained My own very private bags I use for Travel etc with
        Passport etc in them. He went deep into this Tote container -lifting the Bags up etc and
                                rummage SEARCHING underneath etc.

    So I then layed on the Bench Bed..(It is a slim Shelve with a small Mattress on it to make a place
                                                  to "lay".)

     Note: I have surgery on "watchful) waiting" and need to lie down periodically during the course
       of the day to perform a Dr recommended Medical Maneuver and "push" & "massage" the
        hernia back into place etc. I have one on each side and one is not easy to manage. I allso
    sufffer badly from Mental Health difficulty eg: GAD/PTS so this area and small bench bed is allso
    used for Meditation I apply to Help with GAD &very serious Mental Health Difficulty and again
     apply periodically. Sometimes I "rest" my Mind there. As well as a Body. So its a "Sanctuary" of
                               sorts used like this in the course of the day.

     My Mental Health Probems are serious and the most frightening to Me. I manage on a Day to
     Day basis and its hard - I detailed this in emails and on Phone. See my emails. You have them.



     Everything is kinds "linked" so if one go's off there is a Domino affect so I try to be very Careful.
       use this small area and the bench there to apply Care/Rest and apply Medical Procedure & to
        Help Me fight Mental Health Difficulty. There is just/only the bench and some Tylenol and
                                Water. Thats all. Its a Stock Room principly.

       a m resisting using Medication for Mental Health but its hard to manage without. This Attack
       made/makes it far harder. It Destroyed slot I had done and threw Me. Literally. Threw Me

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       DOWN and Backwards. I have said in the course of this in email You have - "No one who has
                 never had Mental Health issues can ever truly understand them".




     U pset and embarassed by the aggressive assault and intrusion into the area after My informing
       Him it was a Private area and watching him search and use flashlights in corner and crevis
                                           became very upset.

                     laved on the bench and began to unbutton My Pants and said...

       "Ok..You wanna inspect "EVERYTHING"..inspect this!" -The object being to show Him My
                                           protruding Hernia's.

     He then said: "These People living in these Things for Their Reasons"...Said in a Discriminating
     Way with Negative Manner. ie: Definitely NOT "observational". Said or delivered with Negative
                   and Spiteful) discriminating Contempt. This angered Me still more.

                            At which point I said. "Ok..Enough....Get Out!".

       followed The Captain &the other Fiefighter to the Front area of Warehouse. I was then left
     stood between the two inside the Warehouse near My Office area door. I asked the Captain for
        ID/Card and He responed by tugging on His Badge -and saying: "I don't need one!. I've got
                                      this". I responded by saying:

      "Well - I happen to Know a bit about Uniforms &maybe You should qo there in My Office
                  (gesturing to the computer)and check Your Dept Policy on ID?"



     The Captain then turned and moved away from Office and demanded: "Where's Your Business
                                                Licence!?"



               responded by saying: "1 don't need one..)am not open and this is storage"



                           He said: "Your supposed to have it on the Wall!"..

                                  said: "I think I am OK but I'll check it"

     (Note: This Warehouse is not open and My Business is closed/not open. It is used for storage.

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    The City came by before has come by here & I have communicated that to them &they have
                                   acknowledged when here).



    So then: I was feeling dizzy and not well. My Anxiety was kicking in and My Hernia was bulging
   dangerously -Note: If it strangulates its serious. I could Die. I would have to rush to Hospital and
                             have emergency(Non Elective) Surgery or Die.



     So it was bulging and growing and becoming Hard. As it does/will when I become anxious
      stressed and remain standing. Thats why the bench is there etc. I have Chronic Chrones
    Disease and that too was kicking in or "triggered". I am 65 Years old and was allso concerned
    about that and all the Upset Talking and non social distancing. So..l could not go and lie down
                           as I certainly should at that kind of point. So I said:

    "1 need to sit down"and unfolded a Chair and sat on it beside the covid barrier table He had
    went around and entered when I was in Office. Before sitting I got pen &paper. While getting
    pen and paper from nearby Office before sitting I said: "You broke Covid rules"-1 was upset.

                                  "We have masks!" - He responded.

    The Captain by this time had made his way to the other side of the Covid Barrier Table and was
                          now just outside the Warehouse and standing tall.



                       "What is Your Name please?" Iasked - looking up at Him

                                   "James Barnes" ----- He responded.

                                      "What is your rank?" I asked.

                                  "Captain James Barnes" He replied

                            "How long have You been with the Fire Dept?"

                                        "30 Years" He responded.



             What is Your Phone Number contact I asked: He provided/said: 626 963 2737

       called it over the Weekend and received a Message from "Cindy". It did not sound "Fire
                        Dept" like so I called again. Yep. Cindy Answer Machine.
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       mentioned this when I gave a under duress made sick Statment on Phone to FD. I wonder
    what they are doing with all this info? Its a deflective number designed to"soak up" problems or
    complaint. The actual Fire Dept number is different & thats the one I used to speak with "Max
                                  Diamond":Who is Captain Max D.?

                                       Back to Captain Barnes.

      was made upset by this/His answers account and Him being a Captain as I know Captains and
                                          stood up and said:

     "Well. 1 have been here 30 Years &met lots of Firemen &have NEVER been treated in such a
                                         DISGUSTING way!!"

                                 The Captain responded to this with:

    "Well -Looks like You don't want a inspection. 1'lljust go to The City and be back with them!"

      responded to this Threat with : "Why don't You do a Fire inspection?"..."1 have preparedfor
                        You -Look -there are the Fire Extinguishers 1 boughf.►„

       (Note: The First Fireman who had came about 2 Week previously told Me to correct Fire
     Extinguishers as the one I had needed "tagging". I had asked Him then if any special kind was
    needed and He indicacted not & He had recommended - ie: Tagging is costly anyway etc and
    was able to buy for less cost brand new ones. I found this to be Good True advice and I actually
    bought 2 and I bought Smoke Detectors and I even put up signs not needed but Good etc. I was
    not just trying to comply. I was trying to please and doing more than necessary. I even put up a
     Old Vintage Fire Dept. sign to bring "Smiles". I have since removed that. Now when I look at it
                                      there is no smile brought.



    So I drew The Captain attention to the New Purchased as needed Fire Extinguishers (2 not one)
                                      and He said: "Too Small!!".

                                          "Too Small?" I said.

                                "Yeah -You need BIGGER !!". He said.

                                     "What do 1need?" I replied.

    He said some numbers related to a particular Fire Extinguisher and and then He wrote down the
                                          numbers on paper.



     So then: The other Firefighter who I have NO complaint about stepped forward to look at Box

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     Access. I had cleared that area as advised by First Firefighter. The Young F.F was polite and
     explained I needed 3 ft clear in front of Box which I was not aware of. I have since corrected
    accordingly as I said I would and as noted by the other 3rd F.F. who came before the 2nd April
                                            invasion and after.

      then turned and found My Self again in front of The Captain. Looking at Me: He announces:

        " I'm gonna give You a Pass on the Fire Extinquishers. And no inspection next Year".

       said nothing. But in My Mind thought: "Pass?"..."They are either Good or No Good. Pass?"

       Again I said nothing but in my mind thought""No inspection next Year?. I had been led to
                   understand there was inspection once a Year?" Now I het a "Pass"?

                         Anyway: Having said that: He turns to leave: And says:

                         "And make sure You get that Licence on the Wall!!"

             Startled and afraid I said: "Are You coming back..how do 1 do thatfor You?„

                                           To which He says:

     "I don't need to come back. I can just call The City" and He takes steps away & in final turns
      and says threatens....ie. After saying "I don't need to come back" -steps away and turns and
                       follows with..." I can red tag/lock Your Doors!!!" (Threat).

    With that He briskly sped/rushed off. All Eft 5 of him. Eft 6/7? I am Eft and he loomed over
    Me. I am Old and 65 with Health Conditions in the middle of Covid. He is a Eft 6/7" (?)Tall Fire
                                      FIGHTER out to GET Me.



      Made Sick. I retreated to The Bathroom where I was very Sick. I remained Very Sick the entire
      Day and next seriously affected. The next day was my Birthday. We had arranged to celebrate
         that and with it my access to Medicare and urgently needed care. So that Night and the
    following next day plans were all cancelled. This Vicious Attack affected badly and affects badly
        ongoing. My Mental Health balance was turned upside down and Hernia and Chrones all
     seriously aggravated. I spent slot of time on the Floor. You don't want to hear the messy detail.
                                             was made very sick.



      On the Fifth I attempted to reach out for help. I ended up speaking with Fire Captain Max
    Diamond and attempted communication. I indicated that I had communicated with the Office of
    The Fire Chief and that I expect He would call the Captian soon. I gave details on this to The Fire

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     Dept later when they took a 6 page Statement to use for internal investigation. There are ALOT
              of Email Letters sent before Phone Call in which the Statement was delivered.



       called on the 5th initially and on the 7th made "request" But that was apparently lost - pls see
         emails evidence etc so I made again on the 9th. The following Week I heard back but was
     u nable or prevented by System failure over Weeks -again -lots of Mail to no avail - as detaiiled.



     During all of this or about Two or so Weeks after the first Fireman visit -not the one on the 2nd.
      was very suprised to see another Firman (in fact the same on that came the first time)show up
       and stand correctly in front: ie: Outside & on correct side of Covid break Table or Distancing
                                               Table/Barrier.

                ONLY the Captain..broke through that and other barrier and CHARGED in!!

     Note: Coivd has been arouind a while and NOT one single person ever misunderstood the Table.
     So as with everyone. eg: Postman/UPS/Fedex/Neighbours and whoever He presented correctly.
                                             But I was suprised.

         So He completed the inspection He started and checked the New Extinquishers etc and
                                                completed.

      did ask Him if He knew anything about or had anything to do with the event on the 2nd and He
                                              said He did not.

      So it was the usual kind of inspection and concluded. I have no complaint at this time to make
                       about this Fireman or as I said any other. Only The Captain..

                                                    So.

       As related I attempted to comunicate reach out to Chief Osby but could not cos the System
                                                   Failed.



        Eventually I could no longer suffer it after Weeks of applied effort/patience. Pls. see email
                                         evidence -there is ALOT.

     So eventually I had to withraw my request to speak with The Chief. So I then turned to Kathryn
              Barger's Office from which I recieved No Help or Response: See Emails. Many.

     And after some time/emails was referred to Justice Deputy Christina M. who provided Help on


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                                     Phone and through Email.

   Time went on and was Wasted and on an on as I waited Patient. Then eventually I was left no
   option but to file claim. Here it is. Respectfully.




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                                  9/30/2021



                                   $180,000



       It is difficult to put a number on this: In terms of "Damage". Certainly
     there is Damage and its intense and alot and spans and will affect My life
                                  & Future - Alot.



      Difficult to "Value" things like "Peace of Mind",State of Mental Health,
                     "Fear" felt -Lost Trust and so on. I know.



      So I am not sure How one evaluate's these things but at same time I am
                            not going to be random. So:

       have explained My Health Conditions and how that was affected. See
      info provided. What was done that Day Destroyed with Pre Meditated
                                       intent.

     It destroyed the day to day balance I strive for with My GAD - PTS. Its very
      hard to get to a Good Balance when managing Mental Health &Physical
                                  illness combined.



                                   was "Thrown".

      It seriously affected Me Physically - I ended up tieing in My own Vomit &

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                       excrement on the Bathroom Floor.



     My Trust in "Uniform" is irrevocably Damaged if not Destroyed -That
    alone is seriously affecting for rest of Life. I am left forever looking over
     My Shoulder and watching Doors fearful) of who will run through and
   attack. I do not "Trust" as I did. I no longer feel "safe" in My Warehouse
                  work in &now hesitate to leave Doors Open.



    How much is the Loss or Destruction of Trust &Peace of Mind "Worth"?

                                    don't know.

        had waited till I was 65. ie: The day after the Attack on Me.So as
     could get Medicare and better access the kind of Surgery I needed and
     wanted. My Birthday was designed to celebrate that and was the Next
                      Day so We had planned to Celebrate.



      Not so much being 65. Not sure thats cause for Celebration. But I was
      Happy to finaly have access to Medicare as it opened Doors to Care -
     could better plan elective Surgery and Manage Mental Health better. So
             due to that rather than lament turning 65 I was Happy.

       As far as Hernia Surgery: During "Watchful) Waiting" Ihad/have to
    prepare for that. I have to try not to do some things and try to do other -
          its afine "Life Balance" to prepare &"Watch" whilst waiting.

      Now I am made uncertain & fearful). I am "thrown" back by Attack on
      Me. My GAD was sent - by the Attack though the roof. PTS same. My
     Hernia condition badly "triggered" &made worst. My Chrones escalated
     and made out of control Bad...and that all combine's & "Domino's" and


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                       exsasperates dangerously. Threatens.

     There is serious Physical as well as Mental Health affect of The Attack on
                                      2nd April.

       Those affects directly attributable to being Attacked like that on April
        2nd by Uniform I was supposed to and led to believe I could Trust.

      need to be Mentaly prepared for Surgery as well as Physically and now
            am not. I was. But now I am not -due directly to The Attack.

      So: Its Difficult to "Add that Up". But I will try to provide a real number
     that reflects and is modest &fact based &not just picked of a Tree like a
                           Apple or plucked from The Sky.



      But considered and Modest. I am 65 and do not wish to spend Time in
     Court. Years? I am sure/certain of The Outcome in that event but I do not
      want to spend Years in Courts when there are better things to do with
                              what remains of My life.

                                         So:




                  do not want to be forced to Court. I Hope We can
                     agree/Settle/Conclude without Lawyers.

     For obvious reasons. I do not just not like Court. I have GAD and Mental
                                 Health to consider.




    If this does end up in Court and frankly I am fearful that it will -then
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   there will of course be alot of Cost as well as other consideration : ie: I do
   not yet know what type of way this will be filed in Court as I am not a
   Lawyer. And I do not know the legal exact. I suppose there are different
   ways this can/could go to court. But - as I have said: I do not want to be
   forced to Court.

   But Common sense tells Us it will be more difficult to resolve. And I have
   expressed that as well as my Dis inlination for use of Lawyers and Courts.

   With that Good Purpose in Mind I am trying to be Modest and provide
   what I think is the lowest claim I can make that is "acceptable" &
   facilitate easier resolution &provide for comfort of "Closure" through
   this Process. ie: Not a Legal one.



    In otherwords try to "End" this as best as I can. And with "Closure" move
    on. And be allowed to "Get Better" and live life.



    So: Trust Me: Wanting solution - I thought Long &Hard prior to arriving at
    a amount I deem "acceptable" and did not "pull it out of a Hat" &its not
    carelessly arrived at. Its considered. I attempted to go low as I can for the
    Good reasons related.

     have repeatedly said I do not want to be push compelled forced into
    Court.



    So: DAMAGES CLAIM ANOUNT.

    Given the serious Damage -Mental and Physical and the SIGNIFICANT
    known and unknown future affect as well as the Known -By Me as
    experience:


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   The Claim amount is:: $180,000.




    TOTAL CLAIM AMOUNT
    PROSPECTIVE INCLUDED: $180,000
